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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF ARKANSAS
                                         CENTRAL DIVISION
IN RE: KAREN CLEGG                                                     CASE NO: 4:18-bk-12156 J
                                                                                     Chapter 13


                                 CHAPTER 13 ORDER TO PAY TRUSTEE
                                              (DIRECT PAY)

  The above named debtor has filed a petition under Chapter 13 of the United States Bankruptcy Code .

  IT IS ORDERED that until further orders of this court, the debtor named above shall pay the sum of $190.00
MONTHLY and each succeeding period thereafter to:

                                        Jack W Gooding, Trustee
                                        4030 Momentum Place
                                        Chicago, IL 60689-5340

 IT IS FURTHER ORDERED, that all funds forwarded to the Trustee shall be by money order, cashiers
check, or other payment form accepted by the Trustee and are due by the 22nd of each month unless
scheduled otherwise.


  IT IS FURTHER ORDERED, that the payments required herein are to commence immediately upon receipt
of this Order.

 IT IS FURTHER ORDERED THAT this Order supersedes any previous order to the debtor to make
payments to the Trustee in this case.

Date: 07/20/2022                                                       /s/ PHYLLIS M. JONES
                                                                Phyllis M. Jones, Bankruptcy Judge

cc: KAREN CLEGG - U.S.P.S.
    MATTHEW D MENTGEN (ACH) - Electronic
    JACK W GOODING - Electronic
